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    BLINDING EDGE PICTURES, INC.; UNCLE
  9 GEORGE PRODUCTIONS, LLC; APPLE INC.;
    ESCAPE ARTISTS, INC. (erroneously sued as
 10 ESCAPE ARTISTS LLC); DOLPHIN BLACK
    PRODUCTIONS; M. NIGHT SHYAMALAN;
 11 TONY BASGALLOP; ASHWIN RAJAN;
    JASON BLUMENTHAL; TODD BLACK;
 12 STEVE TISCH
 13
                                         UNITED STATES DISTRICT COURT
 14
                                   CENTRAL DISTRICT OF CALIFORNIA
 15
 16 FRANCESCA GREGORINI,                                   Case No. 2:20-cv-00406-JFW-JC
 17                                      Plaintiff,        DEFENDANTS’ NOTICE OF
                                                           LODGING OF EXHIBITS 1-10
 18            vs.                                         (TEN DVDS)
 19 APPLE INC., a California corporation;
    M. NIGHT SHYAMALAN, an
 20 individual, BLINDING EDGE
    PICTURES, INC., a Pennsylvania
 21 corporation; UNCLE GEORGE
    PRODUCTIONS, a Pennsylvania
 22 corporate; ESCAPE ARTISTS LLC, a
    California limited liability company;
 23 DOLPHIN BLACK PRODUCTIONS, a
    California corporation; TONY
 24 BASGALLOP, an individual; ASHWIN
    RAJAN, an individual; JASON
 25 BLUMENTHAL, an individual; TODD
    BLACK, an individual; STEVE TISCH,
 26 an individual; and DOES 1-10, inclusive,
 27                                      Defendants.
 28
                                                                            DAVIS WRIGHT TREMAINE LLP
                                                       1                       865 S. FIGUEROA ST, SUITE 2400
      NOTICE OF LODGING                                                     LOS ANGELES, CALIFORNIA 90017-2566
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  1 TO PLAINTIFF AND HER ATTORNEYS OF RECORD:
  2            PLEASE TAKE NOTICE that defendants Blinding Edge Pictures, Inc.,
  3 Uncle George Productions, LLC, Apple Inc., Escape Artists, Inc. (erroneously sued
  4 as Escape Artists LLC), Dolphin Black Productions, M. Night Shyamalan, Tony
  5 Basgallop, Ashwin Rajan, Jason Blumenthal, Todd Black, and Steve Tisch
  6 (collectively “Defendants”) hereby lodge with the Court ten DVDs authenticated as
  7 Exhibits 1-10 to the Declaration of Cydney Swofford Freeman. Each exhibit is an
  8 episode of Defendants’ television series Servant.
  9        Exhibit 1 is a true and correct copy of episode 101 (“Reborn”).
 10        Exhibit 2 is a true and correct copy of episode 102 (“Wood”).
 11        Exhibit 3 is a true and correct copy of episode 103 (“Eel”).
 12        Exhibit 4 is a true and correct copy of episode 104 (“Bear”).
 13        Exhibit 5 is a true and correct copy of episode 105 (“Cricket”).
 14        Exhibit 6 is a true and correct copy of episode 106 (“Rain”).
 15        Exhibit 7 is a true and correct copy of episode 107 (“Haggis”).
 16        Exhibit 8 is a true and correct copy of episode 108 (“Boba”).
 17        Exhibit 9 is a true and correct copy of episode 109 (“Jericho”).
 18        Exhibit 10 is a true and correct copy of episode 110 (“Balloon”).
 19
 20 DATED: March 24, 2020                     DAVIS WRIGHT TREMAINE LLP
                                              NICOLAS A. JAMPOL
 21                                           DIANA PALACIOS
                                              CYDNEY SWOFFORD FREEMAN
 22                                           CAMILA PEDRAZA
 23                                           By:     /s/ Nicolas A. Jampol
                                                             Nicolas A. Jampol
 24
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